                    UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Jennifer Ami Hoffman
                                                           Case No.: 1-17-02956 HWV

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  BB&T
 Court Claim Number:             01
 Last Four of Loan Number:       1458
 Property Address if applicable: 5341 Devonshire Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $8,216.86
 b.      Prepetition arrearages paid by the trustee:                        $8,216.86
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $8,216.86

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




 Case 1:17-bk-02956-HWV          Doc 58     Filed 10/31/24     Entered 10/31/24 08:20:02        Desc
                                            Page 1 of 6
To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: October 31, 2024
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




Case 1:17-bk-02956-HWV         Doc 58    Filed 10/31/24    Entered 10/31/24 08:20:02       Desc
                                         Page 2 of 6
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Jennifer Ami Hoffman
                                                           Case No.: 1-17-02956 HWV

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on October 31, 2024, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Kara K. Gendron, Esquire
 Mott & Gendron Law
 125 State St
 Harrisburg PA 17101


 Served by First Class Mail
 BB&T
 PO Box 1847
 100-50-01-51
 Wilson NC 27894


 Jennifer Ami Hoffman
 5341 Devonshire Rd
 Harrisburg PA 17112


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: October 31, 2024                                /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:17-bk-02956-HWV          Doc 58     Filed 10/31/24      Entered 10/31/24 08:20:02      Desc
                                           Page 3 of 6
                                             Disbursements for Claim
Case: 17-02956          JENNIFER AMI HOFFMAN
         BRANCH BANKING & TRUST
                                                                                Sequence: 13
         BANKRUPTCY DEPT.- 100-70-01-51
                                                                                   Modify:
         P.O. BOX 1847
                                                                               Filed Date: 7/20/2017 12:00:00AM
         WILSON, NC 278941847
                                                                               Hold Code:
 Acct No: 1458/PRE ARREARS/5341 DEVONSHIRE RD



                                                Debt:        $8,216.86      Interest Paid:              $0.00
        Amt Sched:              $83,033.00                                    Accrued Int:               $0.00
         Amt Due:       $0.00                   Paid:        $8,216.86       Balance Due:                $0.00

Claim name                            Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                           DisbDescrp
 5200        BRANCH BANKING & TRUST
520-0 BRANCH BANKING & TRUST                  05/16/2023     2024605       $31.14       $0.00      $31.14 06/06/2023


520-0 BRANCH BANKING & TRUST                  01/18/2023     2020552      $531.58       $0.00     $531.58 03/07/2023


520-0 BRANCH BANKING & TRUST                  11/16/2022     2018604      $265.80       $0.00     $265.80 01/10/2023


520-0 BRANCH BANKING & TRUST                  08/17/2022     2015450      $280.37       $0.00     $280.37 09/09/2022


520-0 BRANCH BANKING & TRUST                  07/13/2022     2014425      $260.93       $0.00     $260.93 08/11/2022


520-0 BRANCH BANKING & TRUST                  06/14/2022     2013465      $260.93       $0.00     $260.93 07/14/2022


520-0 BRANCH BANKING & TRUST                  05/17/2022     2012386      $565.35       $0.00     $565.35 06/03/2022


520-0 BRANCH BANKING & TRUST                  03/16/2022     2010320      $434.89       $0.00     $434.89 04/04/2022


520-0 BRANCH BANKING & TRUST                  01/19/2022     2008345      $217.45       $0.00     $217.45 02/11/2022


520-0 BRANCH BANKING & TRUST                  12/15/2021     2007320      $217.45       $0.00     $217.45 01/07/2022


520-0 BRANCH BANKING & TRUST                  11/16/2021     2006299      $217.44       $0.00     $217.44 12/07/2021


520-0 BRANCH BANKING & TRUST                  10/14/2021     2005250      $223.87       $0.00     $223.87 10/29/2021


520-0 BRANCH BANKING & TRUST                  09/14/2021     2004258      $223.87       $0.00     $223.87 10/01/2021


520-0 BRANCH BANKING & TRUST                  08/18/2021      2003191     $223.88       $0.00     $223.88 09/03/2021



          Case 1:17-bk-02956-HWV          Doc 58    Filed 10/31/24     Entered 10/31/24 08:20:02     Desc           1
                                                    Page 4 of 6
Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
520-0 BRANCH BANKING & TRUST            07/14/2021    2002170      $223.87      $0.00     $223.87 08/13/2021


520-0 BRANCH BANKING & TRUST            06/16/2021    2001194      $223.87     $0.00     $223.87 07/02/2021


520-0 BRANCH BANKING & TRUST            05/18/2021    2000160      $216.74     $0.00     $216.74 06/11/2021


520-0 BRANCH BANKING & TRUST            04/15/2021    1228802      $108.60     $0.00     $108.60 05/07/2021


520-0 BRANCH BANKING & TRUST            02/17/2021    1226755      $173.39     $0.00      $173.39 03/05/2021


520-0 BRANCH BANKING & TRUST            01/19/2021    1225748      $173.38     $0.00      $173.38 02/05/2021


520-0 BRANCH BANKING & TRUST            12/10/2020    1223944      $173.39     $0.00      $173.39 01/21/2021


520-0 BRANCH BANKING & TRUST            11/03/2020     1223111     $173.38     $0.00      $173.38 11/30/2020


520-0 BRANCH BANKING & TRUST            10/15/2020     1222211     $171.48     $0.00      $171.48 11/05/2020


520-0 BRANCH BANKING & TRUST            09/17/2020    1221157      $171.48     $0.00      $171.48 10/15/2020


520-0 BRANCH BANKING & TRUST            08/12/2020     1220121     $171.48     $0.00      $171.48 09/03/2020


520-0 BRANCH BANKING & TRUST            07/07/2020    1219047      $171.47     $0.00     $171.47 07/24/2020


520-0 BRANCH BANKING & TRUST            06/02/2020    1218058      $171.48     $0.00      $171.48 07/01/2020


520-0 BRANCH BANKING & TRUST            05/06/2020    1217122      $171.48     $0.00      $171.48 05/29/2020


520-0 BRANCH BANKING & TRUST            04/14/2020    1215928      $177.76     $0.00      $177.76 05/08/2020


520-0 BRANCH BANKING & TRUST            03/12/2020    1214613      $444.42     $0.00      $444.42 03/20/2020


520-0 BRANCH BANKING & TRUST            02/13/2020    1213298      $203.58     $0.00      $203.58 02/24/2020


520-0 BRANCH BANKING & TRUST            01/16/2020    1211939      $441.75     $0.00      $441.75 01/24/2020


520-0 BRANCH BANKING & TRUST            12/12/2019     1210541      $88.88     $0.00        $88.88 12/19/2019


520-0 BRANCH BANKING & TRUST            11/07/2019    1209257       $88.89     $0.00        $88.89 11/20/2019


        Case 1:17-bk-02956-HWV     Doc 58    Filed 10/31/24     Entered 10/31/24 08:20:02     Desc         2
                                             Page 5 of 6
Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 BRANCH BANKING & TRUST            09/26/2019       1206842      $181.57      $0.00     $181.57 10/03/2019


520-0 BRANCH BANKING & TRUST            08/07/2019       1205473       $88.70     $0.00        $88.70 08/16/2019


520-0 BRANCH BANKING & TRUST            07/11/2019       1204061       $50.87     $0.00        $50.87 07/18/2019


                                                      Sub-totals: $8,216.86       $0.00   $8,216.86

                                                     Grand Total: $8,216.86       $0.00




        Case 1:17-bk-02956-HWV     Doc 58    Filed 10/31/24        Entered 10/31/24 08:20:02     Desc         3
                                             Page 6 of 6
